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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                               Eastern Division

Nikki Parham
                                          Plaintiff,
v.                                                      Case No.: 1:18−cv−04678
                                                        Honorable Charles R. Norgle Sr.
Lakeview Loan Servicing, LLC, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, October 18, 2021:


         MINUTE entry before the Honorable M. David Weisman: Magistrate status
hearing held. Parties appeared telephonically. All parties intend to participate in a video
settlement conference except for defendant Lakeview Loan Servicing, LLC. A telephonic
status hearing is set for 10/29/2021 at 9:15 a.m. Parties shall dial in using the Court's
conference call−in number. The conference call−in number is 1−877−411−9748 and the
passcode is 1814539. If a settlement conference is scheduled prior to 10/29/2021, the
status will be stricken, and no appearance will be necessary. Plaintiff will need to send a
settlement letter to defendants two weeks prior to the scheduled settlement conference.
Plaintiff has leave to present a settlement letter consisting of seven pages. Defendants'
responses shall each be delivered to plaintiff one week prior to the settlement conference.
Each defendant's letter must consist of no more than five pages not including attachments.
The parties must also submit their respective documents by email to
Proposed_Order_Weisman@ilnd.uscourts.gov. Please note that settlement letters are not
to be filed on the CM−ECF system. Parties shall confer and send ONE email to
Weisman_Chambers@ilnd.uscourts.gov, one week prior to the settlement conference
identifying the email addresses of the individuals who intend to participate in the
settlement conference. Parties have no objection to the Court having ex parte discussions
with counsel in advance of the settlement conference if the Court believes such
conversations would be warranted. Mailed notice. (pk, )




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refer to it for additional information.

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